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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )      No. 1:21-cr-00028-APM-15
               v.                            )
JASON DOLAN                                  )
               Defendant                     )


                             NOTICE OF JOINING MOTIONS
       Jason Dolan is charged in counts 1, 2, 3 and 4 of the pending indictment in the instant

matter. By and through undersigned counsel Michael van der Veen, he hereby provides notice to

the Court and parties that he joins and adopts the following motions:

       Harrelson Motion to Dismiss Counts 1, 2, 3, and 4

       Caldwell Motion to Change Venue

       Caldwell Motion to Dismiss

       Crowl Motion to Dismiss



                              VAN DER VEEN, HARTSHORN, AND LEVIN


DATE: 07/29/21                BY:    /s/ Michael T. van der Veen
                                     Michael T. van der Veen
                                     Attorney for Defendant
                                     Pennsylvania Bar No. 75616
                                     van der Veen, Hartshorn, and Levin
                                     1219 Spruce Street
                                     Philadelphia, PA 19107
                                     P: (215) 546-1000
                                     F: (215) 546-8529
                                     mtv@mtvlaw.com
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                                        CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing motion has been served by ECF on all parties

on this 29th day of July, 2021.



                                  BY:    /s/ Michael T. van der Veen
                                         Michael T. van der Veen
                                         Attorney for Defendant
                                         Pennsylvania Bar No. 75616
                                         van der Veen, Hartshorn, and Levin
                                         1219 Spruce Street
                                         Philadelphia, PA 19107
                                         P: (215) 546-1000
                                         F: (215) 546-8529
                                         mtv@mtvlaw.com
